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A 0 245B (Rev 12/03) Sheet 1 - Judgment in a Criminal Case


                            UNITED STA TES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DIVISION



UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE

                                                               CASE NUMBER: 8:05-cr-40-T-?3MAP
                                                               UShI NUMBER: 42638-018
VS.




JAMES BAKKER
                                                               Defendant's Attorney: Ronald F. Smith, cja

THE DEFENDANT:

X pleaded guilty to counts ONE and TWO o i the Indictment.

TITLE & SECTION                              NATURE OF OFFENSE                           OFFENSE ENDED              COUNT

36 App. U.S.C. 9 1903(a) and                 Aided and Abetted in the Possession         January 26.2005            ONE
(g), 18 U.S.C. 3 2, and 21 U.S.C.            With Intent to Disuibure 5 Kilograms
4 960(b)( I)@)($                             or more of Cocaine While Aboard a
                                             Vessel Subject to the Jurisdiction of thc
                                             United States

36 App. 89 1903(a), (g), and (j);            Conspiracy to Possess with Intent to        January 26. 2005           TWO
and 2 1 U.S.C. $ 960(b)(l)(B)(ii)            Distribute Five Kilograms or More of'
                                             Cocaine While Aboard a Vessel Subject
                                             to the Jurisdiction of the United Stares

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant ro the
Srnrencing Reform Act of 1984.


IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessnlents imposed by this judgment are fully
paid.
If ordered to pay rcsti~ution,the defendant shall notify the courl and United Stares Attorney of any material change in economic
circumsrances.


                                                                                 Date of lmposiuon of Semence: August 25, 2005




                                                                                     STEVEN D. MERRYDAY
                                                                                 UNITED STATES DISTRICT .JUDGE

                                                                                 DATE: August     %F        2W5
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A 0 215B (Rev 12103) Sheer 2 - Imprisommt
Defendant:           JAMES BARKER                                                                           Judgment - Page 1of L
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                          The defendant is hereby committed to the cusrody of the United States Bureau of Prisons to be
imprisoned for a total term of Oh% HUNDRED THIRTY-FIVE (135) MONTHS as to counts one and two, both terms to
rim c o n c u r r e n t l y .




       The court makes the following reconlinendations to the Bureau of Prisons: that the defendant be placed in a correctional
facility nearest to Tampa, Florida offering the Unicor Program.



      The defendant is remanded to the custody of the United States Marshal.
-    The defendant shall surrender to the United States Marshal for this district.

           - at - a.m.1p.m. on -.
           - as notified by the United States Marshal.

- The defendanl shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
           - before 2 p.m. on    -.
           - as notified by the United States Marshal.
           - as notified by the Probation or Pretrial Services Office.



                                                                       RETURN

           I have executed this judgment as follows:




           Defendant delivered on                                                    to

at                                                                         , with a certified copy of this judgment.


                                                                                          United States Marshal

                                                                         By:
                                                                         Deputy Marshal
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A 0 245B (Rev. 12/03) Sheet 3 - Supervised Release

Defendant:        JAMES BARKER                                                                   Judgment - Page 3of 6
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                                                       SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term of SIXTY (60) RIONTHS as to
counts one and two, both terms to run concurrently.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release, the defendant shall not commit another federal, state, or local crime, and shall not possess a
firearm, ammunition, or destructive device as defined in 18 U.S.C. 8 921.

         The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
         controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
         authorizes random drug testing not to exceed 104 tests per year.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

          If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance
          with the Schedule of Payments sheet of this judgment.

          The defendant shall con~plywith the standard conditions that have been adopted by this court as well as with any additional
          conditions on thc attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
          the defendant shall not Icavc the judicial district without the permission of the court or probation officcr;
          the defcndant shall rcport to the probation officcr and shall submit a truthful and complete written rcport within the first five days
          of each month:
          thc defendant shall answcr truthfully all inquiries by the probation officcr and follow the instructions of thc probation officer;
          the defcndant shall support his or hcr dcpendents and meet other family responsibilities;

          thc defendant shall work regularly at a lawful occupation. unless excused by thc probation ofiiccr for schooling, training. or other
          acceptable reasons;
          the dcfcndant shall notify thc probation officer at least ten days prior to any change in rcsidcncc or cmployment;
          the defendant shall rcfrain from excessive use of alcohol and shall not purchase. possess, usc, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances. except as prcscribcd by a physician;
          the defcndant shall not frequcnt placcs where cont~olledsubstances arc illegally sold, uscd, distributed, or administered;
          the defendant shall not associate with any persons engaged in criminal activity and shall not associatc with any person convicted
          of a felony, unless granted permission to do so by the probation officcr;
          the defendant shall permit a probation officer 10 visit him or her at any timc at home or elsewhere and shall permit confiscation of
          any contraband observcd in plain view of the probation officer;
          the defendant shall notify the probation officcr within scveniy-two hours of being arrcstcd or qucstioncd by a law cnforcement
          officer;
          the defendant shall not cntcr into any agrccmcnt to act as an informer or a special agcnt of a law cnforccment agency without the
          permission of the court:
          as directed by the probation officcr, thc defcndant shall notifythird parties ofrisks that may bc occasioncd by the defendant's criminal
          record or pcrsonal history or characteristics and shall permit the probation officcr to makc such notifications and to confirm the
          defendant's compliance with such notification rcquircmcnt.
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A 0 145B (Rev. 12103) Sheet 3C - Supervised Release

Defendant:        JAMES BARKER                                                              Judgment - Page 4 of 6
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                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:


X        If the defendant is deported, he shall not re-enter the Uni~edStales without the express permission of the appropriate
       . governmental authority.
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 A 0 245B (Rev 12/03) Sheet 5 - Criminal Monetary Penalties

 Defendant:          JAMES BARKER                                                           Judgment - Page 5
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                                          CRIMINAL MONETARY PENALTIES

          The defendant must pay [he total criminal monetary penalties under the schedule of payments on Sheet 6.
                             Assessment                         Fine                        Total Restitution

          Totals:            $200.00                            $ waived                    $


          The determination of restitution is deferred until -.          An Antended Judgnzeizr in a Crimiizal Case ( A 0 24.92) will
          be entered after such determination.
 -        The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
          specieed orherwise in the.p;iority order or percentage pa ment column below. However, pursuant to 18 U.S.C. fj
          3664(1), all non-federal v m m s must be paid before the dnited States.
                                                                                                              Priority Order or
                                                 *Total                     Amount of                         Percentage of
 Name of Pavee                                 Amount of Loss            Restitution Ordered                  Pavment




                             Totals:

 -        Restitution amount ordered pursuant to plea agreement S
 -        The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
          before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C.5 3612(g).
 -        The coun determined that the defendant does not have the ability to pay interest and it is ordered that:
         -          the interest requirement is waived for the - f i e    - restitution.
         -          the interest requirement for the - f i e         restitution is modified as follou~s:


* Findings for the total amount of losses are required under Cha ters 109A. 110, 1 IOA, and 113A of Title 18 for the offenses
committed on or aher September 13, 1994. but before April 23. 1896.
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.4O 245B (Rev 12/03) Sheet 6 - Schedule of Payniems

Defendant:        JAMES BARKER                                                             Judgment - Page 6of 6
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                                                 SCI-FEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.       X        Lump sum payment of $ 200.00 due immediately, balance due
                            -not later than                   , or

                            - in accordance            C , - D. - E or - F below: or
B.       -        Payment to begin immediately (may be combined with -C, - D, or -F below): or
C.       -        Payment in equal                 (e.g.. weekly. monthly, quarterly) installments of $             over a
                  period of          (e.g., months or years). ro commence              days (e.g., 30 or 60 days) after the
                  date of this judgment: or
D.       -        Payment in equal                 (e.f., weekly. monthly, quarterly) installn~entsof $             over a
                  period of             , (e.g., mon 1s or years) to commence                    (e.g. 30 or 60 days) after
                  release from imprisonrne~itto a term of supervision: or
E.       -        Payment during the term of supervised release will comnence within                         (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
F.       -        Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this jud ment imposes a period of im                         payment of criminal
                                        5                            f
monetary penalties is due during im risonment. All crimina monetary penalties, except
Federal Bureau of Prisons' Inmate inancial Responsibility Program. are made to the
                                                                                                                    made through the

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount. Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) community restitution. ( 6 ) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
